        Case 1:22-cv-06918-DG-TAM                               Document 55-6                      Filed 01/06/25                      Page 1 of 1 PageID #:
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Form   8879-C                        IRS e-file Signature Authorization for Form 1120
                                                                                                                                                                  OMB No. 1545-0123




Department of the Treasury
                             For calendar year 2021, or tax year beginning                        , 2021, ending
                                                       a Do not send to the IRS. Keep for your records.
                                                                                                                                           , 20
                                                                                                                                                                     2021
Internal Revenue Service                         a Go to www.irs.gov/Form8879C for the latest information.
Name of corporation                                                                                                             Employer identification number
HAPPY STREET TOO LLC
 Part I Tax Return Information (Whole dollars only)
   1     Total income (Form 1120, line 11) . .              .   .   .   .    .   .   .   .    .   .   .    .   .   .    .   .    .     .   .      .     .        1        243,529.
   2     Taxable income (Form 1120, line 30) .              .   .   .   .    .   .   .   .    .   .   .    .   .   .    .   .    .     .   .      .     .        2          3,481.
   3     Total tax (Form 1120, line 31) . . .               .   .   .   .    .   .   .   .    .   .   .    .   .   .    .   .    .     .   .      .     .        3            731.
   4     Amount owed (Form 1120, line 35) .                 .   .   .   .    .   .   .   .    .   .   .    .   .   .    .   .    .     .   .      .     .        4            741.
   5     Overpayment (Form 1120, line 36) . .               .   .   .   .    .   .   .   .    .   .   .    .   .   .    .   .    .     .   .      .     .        5
 Part II        Declaration and Signature Authorization of Officer. Be sure to get a copy of the corporation’s return.
Under penalties of perjury, I declare that I am an officer of the above corporation and that I have examined a copy of the corporation’s
2021 electronic income tax return and accompanying schedules and statements and to the best of my knowledge and belief, it is
true, correct, and complete. I further declare that the amounts in Part I above are the amounts shown on the copy of the corporation’s
electronic income tax return. I consent to allow my electronic return originator (ERO), transmitter, or intermediate service provider to
send the corporation’s return to the IRS and to receive from the IRS (a) an acknowledgement of receipt or reason for rejection of the
transmission, (b) the reason for any delay in processing the return or refund, and (c) the date of any refund. If applicable, I authorize
the U.S. Treasury and its designated Financial Agent to initiate an electronic funds withdrawal (direct debit) entry to the financial
institution account indicated in the tax preparation software for payment of the corporation’s federal taxes owed on this return, and
the financial institution to debit the entry to this account. To revoke a payment, I must contact the U.S. Treasury Financial Agent at
1-888-353-4537 no later than 2 business days prior to the payment (settlement) date. I also authorize the financial institutions involved
in the processing of the electronic payment of taxes to receive confidential information necessary to answer inquiries and resolve
issues related to the payment. I have selected a personal identification number (PIN) as my signature for the corporation’s electronic
income tax return and, if applicable, the corporation’s consent to electronic funds withdrawal.

Officer’s PIN: check one box only

              I authorize                                                                                 to enter my PIN                                            as my signature
                                                       ERO firm name                                                                 do not enter all zeros
              on the corporation’s 2021 electronically filed income tax return.

              As an officer of the corporation, I will enter my PIN as my signature on the corporation’s 2021 electronically filed income tax
              return.
Officer’s signature a                                                                        Date a                                  Title a   PRESIDENT

Part III        Certification and Authentication

ERO’s EFIN/PIN. Enter your six-digit EFIN followed by your five-digit self-selected PIN.
                                                                                                                                                      do not enter all zeros

I certify that the above numeric entry is my PIN, which is my signature on the 2021 electronically filed income tax return for the
corporation indicated above. I confirm that I am submitting this return in accordance with the requirements of Pub. 3112, IRS e-file
Application and Participation, and Pub. 4163, Modernized e-File (MeF) Information for Authorized IRS e-file Providers for Business
Returns.

ERO’s signature a                                                                                                      Date a    03/30/2022


                                            ERO Must Retain This Form — See Instructions
                                    Do Not Submit This Form to the IRS Unless Requested To Do So

For Paperwork Reduction Act Notice, see instructions.                            REV 03/29/22 PRO                                                                 Form 8879-C (2021)
BAA
